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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 22-CR-38 (CKK)
       v.                                    :
                                             :
JOLENE EICHER,                               :
                                             :
                Defendant.                   :

                                 NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney

Nathaniel K. Whitesel is entering his appearance in this matter on behalf of the United States.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar Number 481052


                                             By:     /s/ Nathaniel K. Whitesel
                                                     NATHANIEL K. WHITESEL
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